Case 2:06-cr-20676-PDB-MKM ECF No. 165, PageID.913 Filed 12/12/11 Page 1 of 12
Case 2:06-cr-20676-PDB-MKM ECF No. 165, PageID.914 Filed 12/12/11 Page 2 of 12
Case 2:06-cr-20676-PDB-MKM ECF No. 165, PageID.915 Filed 12/12/11 Page 3 of 12
Case 2:06-cr-20676-PDB-MKM ECF No. 165, PageID.916 Filed 12/12/11 Page 4 of 12
Case 2:06-cr-20676-PDB-MKM ECF No. 165, PageID.917 Filed 12/12/11 Page 5 of 12
Case 2:06-cr-20676-PDB-MKM ECF No. 165, PageID.918 Filed 12/12/11 Page 6 of 12
Case 2:06-cr-20676-PDB-MKM ECF No. 165, PageID.919 Filed 12/12/11 Page 7 of 12
Case 2:06-cr-20676-PDB-MKM ECF No. 165, PageID.920 Filed 12/12/11 Page 8 of 12
Case 2:06-cr-20676-PDB-MKM ECF No. 165, PageID.921 Filed 12/12/11 Page 9 of 12
Case 2:06-cr-20676-PDB-MKM ECF No. 165, PageID.922 Filed 12/12/11 Page 10 of 12
Case 2:06-cr-20676-PDB-MKM ECF No. 165, PageID.923 Filed 12/12/11 Page 11 of 12
Case 2:06-cr-20676-PDB-MKM ECF No. 165, PageID.924 Filed 12/12/11 Page 12 of 12
